             Case 4:20-cv-07810-JSW Document 46 Filed 11/24/20 Page 1 of 18




 1   JOHN R. READ (DC Bar #419373)
     john.read@usdoj.gov
 2   MEAGAN BELLSHAW (CA Bar #257875)
 3   meagan.bellshaw@usdoj.gov
     CORY BRADER LEUCHTEN (NY Bar # 5118732)
 4   cory.leuchten@usdoj.gov
     BENNETT J. MATELSON (DC Bar #454551)
 5   bennett.matelson@usdoj.gov
 6   United States Department of Justice, Antitrust Division
     450 Fifth Street, NW, Suite 4000
 7   Washington, DC 20530
     Telephone: (202) 307-0468
 8
     Facsimile: (202) 514-7308
 9
     Attorneys for Plaintiff United States of America
10
11
12                               UNITED STATES DISTRICT COURT

13                            NORTHERN DISTRICT OF CALIFORNIA

14                                        OAKLAND DIVISION

15
      UNITED STATES OF AMERICA,                                Case No.: 4:20-cv-07810-JSW
16
                           Plaintiff                           JOINT STIPULATION AND
17                   v.                                        [PROPOSED] PROTECTIVE
18                                                             ORDER

19    VISA INC. and PLAID INC.,
20
                           Defendants.
21
22
                   JOINT STIPULATION AND [PROPOSED] PROTECTIVE ORDER
23
24           In the interests of (i) ensuring efficient and prompt resolution of this Action; (ii)

25   facilitating discovery by the Parties litigating this Action; and (iii) protecting confidential

26   information from improper disclosure or use, the Parties stipulate to the provisions set forth

27   below. The Court, upon good cause shown and pursuant to Fed. R. Civ. P. 26(c)(1), ORDERS

28   as follows:
                                                      -1-
                                                   JOINT STIPULATION AND [PROPOSED] PROTECTIVE ORDER
                                                                               Case No. 4:20-cv-07810-JSW
             Case 4:20-cv-07810-JSW Document 46 Filed 11/24/20 Page 2 of 18




 1
 2   A.     Definitions
 3           1. As used herein:
 4           (a) “Action” means the above-captioned action pending in this Court, including any
 5   related discovery, pretrial, trial, post-trial, or appellate proceedings.
 6           (b) “Confidential Information” means any trade secret or other confidential research,
 7   development, or commercial information, as such terms are used in Fed. R. Civ. P. 26(c)(1)(G),
 8   or any document, transcript, or other material containing such information that has not been
 9   published or otherwise made publicly available.
10           (c) “Highly Confidential Information” means any Confidential Information which the
11   Protected Person reasonably believes to be so competitively sensitive that it is entitled to
12   extraordinary protections.
13           (d) “Disclosed” means shown, divulged, revealed, produced, described, transmitted or
14   otherwise communicated, in whole or in part.
15           (e) “Document” means any document or electronically stored information, as the term is
16   used in Fed. R. Civ. P. 34(a).
17           (f) “Investigation” means the pre-Complaint inquiry into the matters at issue in this
18   Action by the U.S. Department of Justice.
19           (g) “Investigation Materials” means non-privileged documents, including but not
20   limited to data, declarations, affidavits, statements, testimony, business records, emails or other
21   communications, electronically stored information or other materials (including drafts), that (i)
22   any non-Party provided to any Party, either voluntarily or under compulsory process relating to
23   the Investigation; (ii) any Party provided to any non-Party relating to the Investigation; or (iii)
24   any Defendant, or affiliated person or entity provided to Plaintiff relating to the Investigation.
25           (h) “Litigation Materials” means non-privileged documents, testimony, or other
26   materials that (i) any non-Party provides to any Party either voluntarily or under compulsory
27   process in connection with and during the pendency of this Action; (ii) constitute any
28   communication between any Party and any non-Party in connection with and during the
                                               -2-
                                                    JOINT STIPULATION AND [PROPOSED] PROTECTIVE ORDER
                                                                                Case No. 4:20-cv-07810-JSW
             Case 4:20-cv-07810-JSW Document 46 Filed 11/24/20 Page 3 of 18




 1   pendency of this Action; (iii) any Defendant provides to Plaintiff in connection with and during
 2   the pendency of this Action; and/or (iv) Plaintiff provides to any Defendant in connection with
 3   and during the pendency of this Action.
 4          (i) “Outside Counsel of Record” means the firm(s) of attorneys representing a
 5   Defendant in this proceeding.
 6          (j) “Party” means the United States or any Defendant in this Action. “Parties” means
 7   collectively Plaintiff and Defendants in this Action.
 8          (k) “Person” means any natural person, corporate entity, partnership, association, joint
 9   venture, governmental entity, or trust.
10          (l) “Protected Person” means any Person (including a Party) that has provided
11   Investigation Materials or that provides Litigation Materials.
12   B.    Designation of Confidential Information
13          2. Within two business days of the Court’s entry of this Order, each Party shall send by
14   email, facsimile, or overnight delivery a copy of this Order to each non-Party Protected Person
15   (or, if represented by counsel, the non-Party Protected Person’s counsel) that provided
16   Investigation Materials to that Party.
17          3. If a non-Party Protected Person determines that this Order does not adequately
18   protect its Confidential or Highly Confidential Information, it may, within 10 days after receipt
19   of a copy of this Order, seek additional protection from the Court for its Confidential
20   Information or Highly Confidential Information by filing a motion seeking additional protection
21   for its Confidential or Highly Confidential Information. If a non-Party Protected Person seeks
22   additional protection from the Court, the Investigation Materials for which additional protection
23   has been sought will not be provided to any other Person until the Protected Party and Parties
24   have agreed or the Court has ruled on the Protected Person’s motion.
25          4. DESIGNATION OF INVESTIGATION MATERIALS. Investigation Materials
26   submitted by a Protected Person, or any other materials that are entitled to confidentiality under
27   the Antitrust Civil Process Act, 15 U.S.C. § 1313(c) (3), or the Hart-Scott-Rodino Antitrust
28   Improvements Act, 15 U.S.C. § 18a(h), shall be treated in the first instance as Highly
                                                  -3-
                                                  JOINT STIPULATION AND [PROPOSED] PROTECTIVE ORDER
                                                                              Case No. 4:20-cv-07810-JSW
             Case 4:20-cv-07810-JSW Document 46 Filed 11/24/20 Page 4 of 18




 1   Confidential Information under this Order during pretrial proceedings. Such material may be
 2   disclosed only in accordance with the procedures set forth in this Order. The confidentiality of
 3   such materials may be later challenged under the provisions of Section C below. This Order
 4   does not require any Party to stamp or otherwise mark Investigation Materials as Highly
 5   Confidential, provided that the Investigation Materials are produced in electronic format on a
 6   disk or other medium, and the Party designates the disk or other medium as “Highly
 7   Confidential.”
 8          5. DESIGNATION OF LITIGATION MATERIALS. The following procedures govern
 9   the process for Protected Persons to designate as Confidential or Highly Confidential any
10   information that they disclose in this Action after this Order is entered, including but not limited
11   to information in response to requests under Fed. R. Civ. P. 30, 31, 33, 36 and 45, and
12   documents disclosed in response to Fed. R. Civ. P. 33(d), 34(b)(2) and (c), or 45:
13                    (a) Testimony. All transcripts of depositions taken in this Action after entry of
14   this Order will be treated as Highly Confidential Information in their entirety for 21 days after
15   the date when a complete and final copy of the transcript has been made available to the
16   deponent (or the deponent’s counsel, if applicable). Within five business days of receipt of the
17   final transcript, the Party who noticed the deposition shall provide the final transcript to the
18   deponent. Within 21 days following receipt of the final transcript, the deponent may designate
19   as Confidential or Highly Confidential any portion of the deposition transcript, by page(s) and
20   line(s), and any deposition exhibits provided by the deponent or the deponent’s employer. To
21   be effective, such designations must be provided in writing to Plaintiff’s and Defendants’
22   counsel listed at the end of this Order. Any portion of the transcript or exhibits not so
23   designated pursuant to this subparagraph 5(a) shall not be treated as Confidential or Highly
24   Confidential, despite any prior designation of confidentiality.
25          When a Party questions a deponent about a document or information that has been
26   designated by a different Protected Person as Confidential or Highly Confidential, the Party that
27   asked such questions shall designate as Confidential or Highly Confidential the portion of the
28   transcript relating to such Confidential or Highly Confidential document or information.
                                                     -4-
                                                   JOINT STIPULATION AND [PROPOSED] PROTECTIVE ORDER
                                                                               Case No. 4:20-cv-07810-JSW
             Case 4:20-cv-07810-JSW Document 46 Filed 11/24/20 Page 5 of 18




 1                  (b) Documents. A Protected Person who designates as Confidential Information
 2   any document that it produced in this Action must stamp or otherwise mark each page with the
 3   designation “CONFIDENTIAL” in a manner that will not interfere with legibility or audibility.
 4   Likewise, a Protected Person who designates as Highly Confidential Information any document
 5   that they produced in this Action must stamp or otherwise mark each page with the designation
 6   “HIGHLY CONFIDENTIAL” in a manner that will not interfere with legibility or audibility.
 7                  (c) Electronic Documents and Data. Where a Protected Person produces
 8   electronic files and documents in native electronic format, such electronic files and documents
 9   shall be designated by the Protected Person for protection under this Order by appending to the
10   file names or designators information indicating whether the file contains Confidential or
11   Highly Confidential Information, or by any other reasonable method for appropriately
12   designating such information produced in electronic format, including by making such
13   designations in reasonably accessible metadata associated with the files. Where Confidential
14   Information is produced in electronic format on a disk or other medium that contains
15   exclusively Confidential Information, the “CONFIDENTIAL” designation may be placed on the
16   disk or other medium. Likewise, where Highly Confidential Information is produced in
17   electronic format on a disk or other medium that contains exclusively Highly Confidential
18   Information, the “HIGHLY CONFIDENTIAL” designation may be placed on the disk or other
19   medium. When electronic files or documents in native form are printed for use at deposition, in
20   a court proceeding, or for provision in printed form to any person described in subparagraph
21   10(g), the Party printing the electronic files or documents shall affix a legend to the printed
22   document saying “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL” and include the
23   production number and designation associated with the native file.
24                  (d) Each Defendant represents that any materials that the Defendant previously
25   provided to the U.S. Department of Justice during the Investigation that the Defendant
26   designated as Confidential or Highly Confidential, including but not limited to testimony,
27   documents, and electronic documents and data, constitutes Confidential Information or Highly
28
                                                     -5-
                                                   JOINT STIPULATION AND [PROPOSED] PROTECTIVE ORDER
                                                                               Case No. 4:20-cv-07810-JSW
             Case 4:20-cv-07810-JSW Document 46 Filed 11/24/20 Page 6 of 18




 1   Confidential Information, as defined in subparagraphs 1(b) and 1(c) of this Order, and the
 2   Defendant hereby designates it as such.
 3                  (e) Whenever discovery is sought from a non-Party in this Action, a copy of this
 4   Order shall accompany the discovery request or subpoena. Non-Parties may designate materials
 5   as Confidential or Highly Confidential pursuant to the procedures in this paragraph.
 6          6. Any production of documents or testimony not designated as Confidential or Highly
 7   Confidential will not be deemed a waiver of any future claim of confidentiality concerning such
 8   information if it is later designated as Confidential or Highly Confidential. If at any time prior
 9   to the trial of this Action, a Protected Person realizes that it should have designated as
10   Confidential or Highly Confidential any Investigation Materials or Litigation Materials that
11   Person previously produced during discovery in this Action, it may so designate such
12   documents, testimony, or other materials by notifying the Parties in writing. The Parties shall
13   thereafter treat the Investigation Materials or Litigation Materials pursuant to the Protected
14   Person’s new designation under the terms of this Order. No prior disclosure of newly
15   designated Confidential or Highly Confidential Information shall violate this Order. The
16   disclosure of any information for which disclosure was proper when made will not be deemed
17   improper regardless of any such subsequent confidentiality designation.
18          7. In the event of a disclosure of any Confidential or Highly Confidential Information to
19   any person(s) not authorized to receive such disclosure under this Order, the Party responsible
20   for having made such disclosure shall promptly notify the Protected Person whose material has
21   been disclosed and provide to such Protected Person all known relevant information concerning
22   the nature and circumstances of the disclosure. The disclosing Party shall also promptly take all
23   reasonable measures to retrieve the improperly disclosed material and to ensure that no further
24   or greater unauthorized disclosure and/or use thereof is made. Unauthorized or inadvertent
25   disclosure shall not change the confidential status of any disclosed material or waive the right to
26   maintain the disclosed material as containing Confidential or Highly Confidential Information.
27
28
                                                     -6-
                                                   JOINT STIPULATION AND [PROPOSED] PROTECTIVE ORDER
                                                                               Case No. 4:20-cv-07810-JSW
              Case 4:20-cv-07810-JSW Document 46 Filed 11/24/20 Page 7 of 18




 1   C.      Challenges to Confidential or Highly Confidential Designation
 2          8. Any Party who objects to any designation of confidentiality may at any time before
 3   the trial of this Action provide a written notice to the Protected Person who made such
 4   designation and all Parties stating with particularity the grounds for the objection. All materials
 5   objected to shall continue to be treated as Confidential or Highly Confidential Information
 6   pending resolution of the dispute. If the objecting Party and the Protected Person cannot reach
 7   agreement on the objection within five business days of the Party’s written notice, the Protected
 8   Person may address the dispute to this Court. The Protected Person bears the burden of
 9   persuading the Court that the material is Confidential Information within the definition set forth
10   in paragraph 1(b) or Highly Confidential Information within the definition set forth in paragraph
11   1(c). The designated information shall be treated in accordance with its Confidential or Highly
12   Confidential Information designation under this Order until the Court rules on the designating
13   Protected Person’s timely filed motion. If the Protected Person fails to move the Court in
14   accordance with this paragraph, or if the Court finds the designation of Confidential Information
15   or Highly Confidential Information to have been inappropriate, the challenged designation shall
16   be considered rescinded. The Parties thereafter shall not be required to treat the information as
17   Confidential Information or Highly Confidential Information under this Order. This Order shall
18   not preclude or prejudice either the Protected Person or the objecting Party from arguing for or
19   against any designation, establish any presumption that a particular designation is valid, or alter
20   the burden of proof that would otherwise apply in a dispute over discovery or disclosure of
21   information.
22   D.     Disclosure of Confidential or Highly Confidential Information
23           9. Confidential Information may be disclosed only to the following persons:
24                   (a) the Court and all persons assisting the Court in this Action, including law
25   clerks, court reporters, and stenographic or clerical personnel;
26                   (b) Plaintiff’s attorneys, in-house economists and financial analysts, paralegals
27   and other professional personnel (including support and IT staff), and agents or independent
28
                                                     -7-
                                                   JOINT STIPULATION AND [PROPOSED] PROTECTIVE ORDER
                                                                               Case No. 4:20-cv-07810-JSW
               Case 4:20-cv-07810-JSW Document 46 Filed 11/24/20 Page 8 of 18




 1   contractors retained by the Plaintiff to assist in this Action whose functions require access to the
 2   information;
 3                   (c) Outside Counsel of Record for Defendants, including any attorneys,
 4   paralegals, and other professional personnel (including support and IT staff) that such outside
 5   counsel assigns to this Action, and agents or independent contractors retained by Defendants to
 6   assist in this Action whose functions require access to the information;
 7                   (d) outside vendors or service providers (such as copy-service providers and
 8   document-management consultants) retained by a Party to assist that Party in this Action,
 9   provided that they shall first execute an Agreement Concerning Confidentiality in the form of
10   Appendix A attached hereto;
11                   (e) any mediator or arbitrator that the Parties engage in this Action or that this
12   Court appoints;
13                   (f) persons who are authors, addressees, and recipients of the document, to the
14   extent they have previously had lawful access to the document disclosed or to be disclosed; or
15   persons for whom counsel for Plaintiff or Defendants believes in good faith previously received
16   or had access to the document, unless the person indicates that he or she did not have access to
17   the document;
18                   (g) any person retained by a Party to serve as a testifying or consulting expert in
19   this Action, including employees of the firm with which the expert or consultant is associated or
20   independent contractors who assist the expert’s work in this Action, provided that they shall
21   first execute an Agreement Concerning Confidentiality in the form of Appendix A attached
22   hereto;
23                   (h) outside trial consultants (including, but not limited to, graphics consultants),
24   provided that they shall first execute an Agreement Concerning Confidentiality in the form of
25   Appendix A attached hereto; and
26                   (i) two in-house attorneys for each Defendant, not involved in business
27   decisions, whose names shall be disclosed to the United States at least five business days prior
28   to the effective date of such designation and who shall be agreed upon by the parties or (in the
                                                    -8-
                                                   JOINT STIPULATION AND [PROPOSED] PROTECTIVE ORDER
                                                                               Case No. 4:20-cv-07810-JSW
             Case 4:20-cv-07810-JSW Document 46 Filed 11/24/20 Page 9 of 18




 1   absence of agreement) ordered by the Court, provided that the in-house attorneys shall first
 2   execute an Agreement Concerning Confidentiality in the form of Appendix A attached hereto.
 3   For purposes of this paragraph, the phrase “involved in business decisions” shall not include the
 4   rendering of legal advice solely as to litigation, compliance, regulatory, or liability issues related
 5   to business decisions. To the extent a Defendant seeks to change the two-in house attorneys that
 6   may receive access to Confidential Information, the Defendant must provide notice to Plaintiff
 7   at least 10 business days prior to the effective date of such change.
 8          10. Highly Confidential Information may be disclosed only to the persons set forth in
 9   Section D.9(a)-(h) above.
10          11. Counsel for the Party making the disclosure must retain the original of the
11   Agreement Concerning Confidentiality in the form of Appendix A attached hereto for a period
12   of one year following the final resolution of this Action.
13          12. Each individual described in paragraphs 9 and 10 of this Order to whom information
14   designated as Confidential Information or Highly Confidential Information is disclosed must not
15   disclose that Confidential or Highly Confidential Information to any other individual, except as
16   provided in this Order.
17          13. Nothing in this Order prevents Plaintiff, subject to taking appropriate steps to
18   preserve the confidentiality of such information, from disclosing such information designated as
19   Confidential or Highly Confidential (i) in the course of any other legal proceeding in which the
20   U.S. Department of Justice is a party; (ii) for the purpose of securing compliance with a Final
21   Judgment in this Action; or (iii) for law enforcement purposes.
22          14. Nothing in this Order:
23                   (a) limits a Protected Person’s use or disclosure of its own information
24   designated as Confidential or Highly Confidential Information;
25                   (b) prevents disclosure of Confidential or Highly Confidential Information with
26   the consent of the Protected Person that designated the material as Confidential or Highly
27   Confidential;
28
                                                      -9-
                                                   JOINT STIPULATION AND [PROPOSED] PROTECTIVE ORDER
                                                                               Case No. 4:20-cv-07810-JSW
            Case 4:20-cv-07810-JSW Document 46 Filed 11/24/20 Page 10 of 18




 1                  (c) prevents disclosure by a Party of Confidential or Highly Confidential
 2   Information (i) that is or has become publicly known through no fault of that Party; (ii) lawfully
 3   acquired by or known to that Party independent of receipt during the Investigation or in
 4   discovery in this Action; (iii) previously produced, disclosed and/or provided to that Party
 5   without an obligation of confidentiality and not by inadvertence or mistake; or (iv) pursuant to
 6   an order of a Court; or
 7                   (d) prevents Plaintiff’s retention or use or disclosure of Investigation Materials
 8   outside the context of this Action to the extent permitted by applicable law or regulation
 9   governing pre-complaint discovery including the Hart-Scott-Rodino Act, 15 U.S.C. § 18a, and
10   the Antitrust Civil Process Act, 15 U.S.C. §§ 1311-14, or for law enforcement purposes, or as
11   required by law, court order or regulation.
12   E.     Use of Information Designated Confidential or Highly Confidential in This Action
13          15. If any documents, testimony, or other materials designated under this Order as
14   Confidential or Highly Confidential Information are included in any pleading, motion, exhibit,
15   or other paper to be filed with the Court, the Party seeking to file such Confidential or Highly
16   Confidential Information under seal must proceed in accordance with Local Rule 79-5. For any
17   filing made under seal pursuant to this Order, the filing Party shall file with the Court, in
18   accordance with Local Rule 79-5, a public version of the filing with the Confidential or Highly
19   Confidential Information redacted. Nothing in this Order shall restrict the Parties or any
20   interested member of the public from challenging the filing of any Confidential or Highly
21   Confidential Information under seal.
22          16. Disclosure at trial of documents and testimony and other materials designated as
23   Confidential Information or Highly Confidential Information will be governed pursuant to a
24   separate Court order. The Parties shall meet and confer before trial and submit a recommended
25   order outlining those procedures. Absent a ruling by the Court to the contrary, documents or
26   deposition testimony, or other materials or information designated as Confidential Information
27   or Highly Confidential Information by a Protected Person that appear on an exhibit list or in
28   deposition designations, that are admitted into evidence at trial, will be disclosed on the public
                                                    -10-
                                                   JOINT STIPULATION AND [PROPOSED] PROTECTIVE ORDER
                                                                               Case No. 4:20-cv-07810-JSW
            Case 4:20-cv-07810-JSW Document 46 Filed 11/24/20 Page 11 of 18




 1   record, and any examination relating to such information will likewise be disclosed on the
 2   public record, after compliance with procedures established by this Court.
 3          17. All Confidential Information or Highly Confidential Information produced by a
 4   Party or a non-Party as part of this proceeding shall be used solely for the conduct of this Action
 5   and shall not be used for any business, commercial, competitive, personal, or other purpose,
 6   except as set forth in Paragraphs 13 and 14 herein.
 7   F.     Procedures upon Termination of This Action
 8          18. The obligations imposed by this Order survive the termination of this Action unless
 9   the Court, which shall retain jurisdiction to resolve any disputes arising out of this Order, orders
10   otherwise. Within 90 days after the expiration of the time for appeal of an order, judgment, or
11   decree terminating this litigation, all persons having received information designated as
12   Confidential or Highly Confidential Information must either make a good faith effort to return
13   such material and all copies thereof to the Protected Person (or the Protected Person’s counsel,
14   if represented by counsel) that produced it, or destroy or delete all such Confidential or Highly
15   Confidential Information. Counsel for the Parties will be entitled to retain court papers,
16   deposition and trial transcripts and exhibits, and work product, provided that the Parties and
17   their counsel do not disclose the portions of court papers, deposition transcripts, exhibits, or
18   work product containing information designated as Confidential or Highly Confidential
19   Information to any person except pursuant to Court order or agreement with the Protected
20   Person that produced the Confidential or Highly Confidential Information or as otherwise
21   permitted herein. All Confidential or Highly Confidential Information returned to the Parties or
22   their counsel by the Court likewise must be disposed of in accordance with this paragraph.
23   Nothing in this Paragraph, however, restricts the rights of the Parties under paragraphs 13 and
24   14 of this Order.
25   G.     Right to Seek Modification
26          19. Nothing in this Order limits any Person, including members of the public, a Party or
27   a Protected Person, from seeking further or additional protections of any of its materials or
28   modification of this Order upon motion duly made pursuant to the Rules of this Court,
                                                 -11-
                                                   JOINT STIPULATION AND [PROPOSED] PROTECTIVE ORDER
                                                                               Case No. 4:20-cv-07810-JSW
             Case 4:20-cv-07810-JSW Document 46 Filed 11/24/20 Page 12 of 18




 1   including, without limitation, an order that certain material not be produced at all or is not
 2   admissible evidence in this Action or any other proceeding.
 3   H.      Inadvertent Production of Privileged Information
 4          20. As authorized by Federal Rule of Evidence 502(d), the production of a document or
 5   information subject to a claim of attorney-client privilege, work-product immunity, or any other
 6   privilege or immunity under relevant federal case law and rules (“Produced Privileged Material”)
 7   does not waive any claim of privilege, work product, or any other ground for withholding
 8   production to which the Party producing the documents or information otherwise would be
 9   entitled, provided that (a) the production was inadvertent; (b) the Party producing the documents
10   or information used reasonable efforts to prevent the disclosure of documents or information
11   protected by the attorney-client privilege, work-product immunity, or any other privilege or
12   immunity; and (c) the Party producing the documents or information promptly took reasonable
13   steps to rectify the error, including following Federal Rule of Civil Procedure 26(b)(5)(B).
14           21. A Party or Person claiming privilege or other protections for Produced Privileged
15   Material must within three (3) days of learning of the production of such material notify in
16   writing any and all Receiving Parties that received the Produced Privileged Material and
17   provide sufficient information to the Receiving Party regarding the asserted privileges, in the
18   form of a privilege log as outlined in Rule 26(b)(5) of the Federal Rules of Civil Procedure.
19   Alternatively, if a Receiving Party discovers a document that it believes to be Produced
20   Privileged Material, the Receiving Party will promptly notify the Designating Party of what it
21   believes to be the Produced Privileged Material. No Receiving Party will be found in violation
22   of this Order for failing to recognize Produced Privileged Material.
23           22. After discovering or being notified of Produced Privileged Material, any Receiving
24   Party may not use or disclose the inadvertently Produced Privileged Material in any way until
25   the claim is resolved, and must take reasonable steps to retrieve the material if the Receiving
26   Party disclosed it before being notified of or discovering the inadvertent production. In
27   addition, within five (5) calendar days of discovering or being notified of Produced Privileged
28   Material, any Receiving Party must return, sequester, or destroy the specified material and any
                                                  -12-
                                                   JOINT STIPULATION AND [PROPOSED] PROTECTIVE ORDER
                                                                               Case No. 4:20-cv-07810-JSW
             Case 4:20-cv-07810-JSW Document 46 Filed 11/24/20 Page 13 of 18




 1    copies. The Designating Party must retain a copy of the material until the resolution or
 2    termination of this Action. A Party may move the Court for an order compelling production of
 3    the material and present the information to the Court under seal for a determination of the claim.
 4    Any submission of privileged material for in camera review shall not constitute a waiver of any
 5    applicable material.
 6           23. Nothing in this Order overrides any attorney’s ethical responsibilities to refrain from
 7    examining or disclosing materials that the attorney knows or reasonably should know to be
 8    privileged and to inform that Party or Person that produced the materials of such occurrence.
 9           24. This Order is not intended to impose on a Party a waiver of its rights to review its
10    documents for privilege or any other reason (including to identify non-responsive documents)
11    and the existence of this Order cannot be used to compel a Party to produce documents without
12    review. Moreover, this Order does not mean that the cost of review should not be considered in
13    whether any particular discovery is proportionate (i.e., that the benefit of the discovery is not as
14    great as the cost of said discovery including review).
15   I.      The Privacy Act
16           25. Any order of this Court requiring the production of any document, information, or
17   transcript of testimony constitutes a court order within the meaning of the Privacy Act, 5 U.S.C.
18   § 552a(b)(11).
19   J.      Persons Bound by This Order
20           26. This Order shall be binding on the Parties to this Action, their attorneys, and their
21   successors, personal representatives, administrators, assigns, parents, subsidiaries, divisions,
22   affiliates, employees, agents, retained consultants and experts, and any persons or organizations
23   over which they have direct control.
24
25
26
27
28
                                                     -13-
                                                    JOINT STIPULATION AND [PROPOSED] PROTECTIVE ORDER
                                                                                Case No. 4:20-cv-07810-JSW
     Case 4:20-cv-07810-JSW Document 46 Filed 11/24/20 Page 14 of 18




 1   SO STIPULATED:
 2   /s/ John R. Read
     John R. Read
 3   John.Read@usdoj.gov
 4   United States Department of Justice
     Antitrust Division
 5   450 Fifth Street, NW, Suite 4000
     Washington, DC 20530
 6   Telephone: (202) 307-0468
 7   Fax: (202) 514-7308

 8   Counsel for Plaintiff United States of America
 9
     /s/ Tara L. Reinhart
10   Jack P. DiCanio (SBN 138782)
     Jack.DiCanio@Skadden.com
11   525 University Avenue, Suite 1400
     Palo Alto, California 94301
12
     Telephone: (650) 470-4500
13   Facsimile: (650) 470-4570

14   Steven C. Sunshine (pro hac vice)
     Steven.Sunshine@Skadden.com
15
     Tara L Reinhart (pro hac vice)
16   Tara.Reinhart@Skadden.com
     Julia K. York (pro hac vice)
17   Julia.York@Skadden.com
18   Joseph Ciani-Dausch (pro hac vice)
     Joseph.Ciani-Dausch@skadden.com
19   1440 New York Ave., N.W.
     Washington, D.C. 20005
20   Telephone: (202) 371-700
21   Facsimile: (202) 393-5760

22   Karen Hoffman Lent (pro hac vice)
     Karen.Lent@Skadden.com
23   One Manhattan West
24   New York, NY 10001-8602
     Telephone: (212) 735-3000
25   Facsimile: (212) 735-2000
26   Counsel for Defendant Visa, Inc.
27
28
                                            -14-
                                           JOINT STIPULATION AND [PROPOSED] PROTECTIVE ORDER
                                                                       Case No. 4:20-cv-07810-JSW
           Case 4:20-cv-07810-JSW Document 46 Filed 11/24/20 Page 15 of 18




 1         WILSON SONSINI GOODRICH & ROSATI
           Professional Corporation
 2
 3         /s/ Justina K. Sessions
           Jonathan M. Jacobson (SBN 1350495)
 4         jjacobson@wsgr.com
           1301 Avenue of the Americas, 40th Floor
 5         New York, New York 10019
 6         Telephone: (212) 497-7758
           Facsimile: (212) 999-5899
 7
           Scott A. Sher (SBN 190053)
 8
           ssher@wsgr.com
 9         Michelle Yost Hale (pro hac vice)
           mhale@wsgr.com
10         Robin S. Crauthers (pro hac vice)
           rcrauthers@wsgr.com
11
           Katie R. Glynn (SBN 300524)
12         kglynn@wsgr.com
           1700 K Street NW, Fifth Floor
13         Washington, DC 20006
           Telephone: (202) 973-8800
14
           Facsimile: (202) 973-8899
15
           Justina K. Sessions (SBN 270914)
16         jsessions@wsgr.com
17         Benjamin S. Labow (SBN 229443)
           blabow@wsgr.com
18         One Market Plaza, Spear Tower, Suite 3300
           San Francisco, California 94105
19         Telephone: (415) 947-2000
20         Facsimile: (415) 947-2099

21         Counsel for Defendant Plaid Inc.
22
23
     IT SO ORDERED.
24
25
     Dated: ________________                           _____________________________
26                                                     HON. JEFFREY S. WHITE
                                                       United States District Judge
27
28
                                                -15-
                                               JOINT STIPULATION AND [PROPOSED] PROTECTIVE ORDER
                                                                           Case No. 4:20-cv-07810-JSW
              Case 4:20-cv-07810-JSW Document 46 Filed 11/24/20 Page 16 of 18




 1                                               APPENDIX A
 2                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
 3                                       OAKDLAND DIVISION
 4
 5
 6   UNITED STATES OF AMERICA,

 7
 8                             Plaintiff,
                                                              Civil Action No. 4:20-cv-07810-JSW
 9
10            v.

11
12   VISA INC. and PLAID INC.,

13
14
                                AGREEMENT CONCERNING CONFIDENTIALITY
15
              I,              , am employed by           as _______________________.
16
     I hereby certify that:
17
         1. I have read the Protective Order entered in the above-captioned action, and understand its
18
     terms.
19
         2. I agree to be bound by the terms of the Protective Order entered in the above-captioned
20
     action. I agree to use the information provided to me only as explicitly provided in this
21
     Protective Order.
22
         3. I understand that my failure to abide by the terms of the Protective Order entered in the
23
     above-captioned action will subject me, without limitation, to civil and criminal penalties for
24
     contempt of Court.
25
         4. I submit to the jurisdiction of the United States District Court for the Northern District of
26
     California solely for the purpose of enforcing the terms of the Protective Order entered in the
27
28
                                                     -16-
                                                   JOINT STIPULATION AND [PROPOSED] PROTECTIVE ORDER
                                                                               Case No. 4:20-cv-07810-JSW
             Case 4:20-cv-07810-JSW Document 46 Filed 11/24/20 Page 17 of 18




 1   above-captioned action and freely and knowingly waive any right I may otherwise have to object
 2   to the jurisdiction of said Court.
 3                                          ______________________________
                                            ______________________________
 4                                          SIGNATURE
 5
                                            ______________________________
 6                                          DATE
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                  -17-
                                                JOINT STIPULATION AND [PROPOSED] PROTECTIVE ORDER
                                                                            Case No. 4:20-cv-07810-JSW
             Case 4:20-cv-07810-JSW Document 46 Filed 11/24/20 Page 18 of 18




 1                                     ATTORNEY ATTESTATION
 2           I, Meagan K. Bellshaw, am the ECF user whose identification and password are being
 3   used to file the Joint Stipulation and [Proposed] Protective Order. Pursuant to Local Rule 5-
 4   1(i)(3), I hereby attest that all signatories listed hereto, and on whose behalf the filing is
 5   submitted, concur in this document’s content and have authorized the filing of this document
 6   with the use of their electronic signature.
 7
                                             /s/ Meagan K. Bellshaw
 8                                            Meagan K. Bellshaw
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                       -18-
                                                     JOINT STIPULATION AND [PROPOSED] PROTECTIVE ORDER
                                                                                 Case No. 4:20-cv-07810-JSW
